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 1   JESSE A.P. BAKER (SBN 36077)
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     Mercer Island, WA 98040
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 7   San Diego, CA 92177-0933
     Telephone: (858) 750-7600
 8   Facsimile: (619) 590-1385
 9   Attorneys for U.S. BANK NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL
                   CAPACITY BUT SOLELY AS TRUSTEE FOR THE RMAC TRUST, SERIES
10                 2016-CTT
11

12                              UNITED STATES BANKRUPTCY COURT
13                WESTERN DISTRICT OF WASHINGTON - TACOMA DIVISION
14    In re                                                  Case No. 18-42652-BDL
15    MICHAEL LEE SORENSEN and KARLA                         Chapter 13
      ANN SORENSEN,
16                                                           PROOF OF SERVICE BY MAIL
                       Debtor(s).
17

18
                     I, Melissa Gonzalez, declare that:
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                     I am employed by Aldridge Pite, LLP. My business address is: Fifteen Piedmont
20
     Center, 3575 Piedmont Road, N.E., Suite 500, Atlanta, GA 30305. I am over the age of eighteen
21
     years and not a party to this case.
22
                     On March 15, 2022, I caused the Notice of Mortgage Payment Change to be served by
23
     placing a true and correct copy thereof enclosed in a sealed envelope with postage thereon fully
24
     prepaid in the United States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.
25
              I declare under penalty of perjury that the foregoing is true and correct.
26
     Dated: March 15, 2022                                   /s/ Melissa Gonzalez
27                                                           Melissa Gonzalez
28



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                                      SERVICE LIST
 1
   DEBTOR(S)
 2 (VIA U.S. MAIL)

 3 Michael Lee Sorensen
   Karla Ann Sorensen
 4 18230 Alexander Lane SW
   Rochester, WA 98579
 5
   DEBTOR(S) ATTORNEY
 6 (VIA ELECTRONIC NOTICE)

 7 Amanda N Martin

 8 CHAPTER 13 TRUSTEE
   (VIA ELECTRONIC NOTICE)
 9
   Michael G. Malaier
10
   U.S. TRUSTEE
11 (VIA ELECTRONIC NOTICE)

12 United States Trustee

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